                        Case 2:17-cv-01830-RSL Document 52 Filed 05/28/19 Page 1 of 6
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                  Western District of Washington                              on the following
      ✔ Trademarks or
      G                       G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
    2:17-cv-1830-JPD                       12/6/2017                                      Western District of Washington
PLAINTIFF                                                                    DEFENDANT
 Amazon.com, Inc.                                                              FBA Stores, LLC, et al.



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 5,102,687                                12/20/2016                  Amazon Technologies, Inc.

2 4,907,371                                 3/1/2016                   Amazon Technologies, Inc.

3 4,533,716                                5/20/2014                   Amazon Technologies, Inc.

4 4,656,529                                12/16/2014                  Amazon Technologies, Inc.

5 5,281,455                                 9/5/2017                   Amazon Technologies, Inc.


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

      All claims dismissed per order entered 5/28/2019




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
    William M. McCool                                            Michael Williams                                        5/28/2019

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                        Case 2:17-cv-01830-RSL Document 52 Filed 05/28/19 Page 2 of 6
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        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2,657,226                                12/3/2002                   Amazon Technologies, Inc.

2 2,738,838                                7/15/2003                   Amazon Technologies, Inc.

3 2,738,837                                7/15/2003                   Amazon Technologies, Inc.

4 2,832,943                                4/13/2004                   Amazon Technologies, Inc.

5 3,868,195                                10/26/2010                  Amazon Technologies, Inc.


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        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 4,171,964                                7/10/2012                   Amazon Technologies, Inc.

2 2,857,590                                6/29/2004                   Amazon Technologies, Inc.

3 2,078,496                                7/15/1997                   Amazon Technologies, Inc.

4 4,621,427                                10/14/2014                  Amazon Technologies, Inc.

5 4,621,428                                10/14/2014                  Amazon Technologies, Inc.


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        PATENT OR                      DATE OF PATENT
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        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 3,576,161                                2/17/2009                   Amazon Technologies, Inc.

2 5,038,752                                9/13/2016                   Amazon Technologies, Inc.

3 4,171,965                                7/10/2012                   Amazon Technologies, Inc.

4 4,841,614                                10/27/2015                  Amazon Technologies, Inc.

5 2,951,941                                5/17/2005                   Amazon Technologies, Inc.


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                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 5,129,530                                1/24/2017                   Amazon Technologies, Inc.

2 5,100,558                                12/13/2016                  Amazon Technologies, Inc.

3 4,969,037                                5/31/2016                   Amazon Technologies, Inc.

4 3,911,425                                1/25/2011                   Amazon Technologies, Inc.

5 3,904,646                                1/11/2011                   Amazon Technologies, Inc.


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      TRADEMARK NO.                    OR TRADEMARK
1 4,067,393                                12/6/2011                   Amazon Technologies, Inc.

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